Case 5:22-cv-05114-TLB Document 2-2   Filed 06/15/22 Page 1 of 30 PageID #: 164




                             EXHIBIT 2
             Case 5:22-cv-05114-TLB Document 2-2                     Filed 06/15/22 Page 2 of 30 PageID #: 165


                                                                                                                         59511 (10-19)



                24-0038-00
                SIMS & RENNER INSURANCE
                PO BOX 9930
                FAYETTEVILLE AR 72703-0034                                  ..Auto-Owners.
                                                                                     INSURANCE
                                                                                LIFE • HOME •CAR• BUSINESS


    _ ______ ____ ________________ _____ __ ___________________________ PO Box_30660 _• Lansing.Ml 48909-8160_
_______________________ ___________________________ 517.323.lZOQ ______ cc__ ===-c-,-,----

                09-18-2020                                                         Owners Insurance Company




                                                                      You can view your policy or change your paperless options at
                                                                      any time online at www.auto~owners.com.

                RMS WAREHOUSE 1315 LLC
                PO BOX 8054
                FAYETTEVILLE AR 72703-0001


                                                                       Your agency's phone number is 479-684-4100.




        RE: Policy 194624-70586522-20

        Thank you for selecting Auto-Owners Insurance Group to serve your insurance needs! Feel free to contact your
        independent Auto-Owners agent with questions you may have.

      - - Auto-Owne,s-and its affiliate-companies offera full complement of policies, each of which has its own eligibility
          requirements, coverages and rates. Please take this opportunity to review your insurance needs with your Auto-Owners
          agent, and discuss which company and program may be most appropriate for you.

        Auto-Owners Insurance Company was formed in 1916. Our A++ (Superior) rating by A.M. Best Company signifies that we
        have the financial strength to provide the insurance protection you need. The Auto-Owners Insurance Group is comprised
        of six property and casualty companies and a life insurance company.




                                       Serving Our Policyholders and Agents Since 1916
                      Case 5:22-cv-05114-TLB Document 2-2                        Filed 06/15/22 Page 3 of 30 PageID #: 166

             Agency Code     24-0038-00                                                                            Policy Number      194624-70586522


                                                                                                                                          55293 (7-05)



                                                                          Arkansas
                            NOTICE TO POLICYHOLDER-AGGREGATE LIMIT OF LIABILITY

             Dear Policyholder:

   .............. Your Commercialpolicy.contains.an Aggregate Limit.of Liability, ..Please.refer to yourpolicy for an explanation of cover- .....................
cccc=cc
     .. CC
         ...ccaQ<!,


             This notice is for informational purposes only. Your policy contains the specific terms and conditions of coverage.

             If you have any questions regarding your policy or this notice, please contact your Auto-Owners agency.



             55293 (7-05)                                                                                                                  Page 1 of1



                                                                                                                                          59365 (3-20)



                                          IMPORTANT POLICYHOLDER INFORMATION

             Dear Policyholder:

             Any inquiries concerning your policy should be directed to your insurance agent whose name, address and telephone
             number are shown on your policy.

             Policyholders have the right to file a complaint with the Arkansas Insurance Department (AID). You may call AID to
             request a complaint form at (800)852-5494 or (501 )371-2640 or write the Department at:

                                                              Arkansas Insurance Department
                                                                1 Commerce Way, Suite 102
                                                                Little Rock, Arkansas 72202

             *Auto-Owners Insurance Group includes, Auto-Owners Insurance Company, Auto-Owners Life Insurance Company,
              Home-Owners Insurance Company, Owners Insurance Company, Property-Owners Insurance Company and
              Southern-Owners Insurance Company.



             59365 (3-20)                                                                                                                   Page 1 of 1
               Case 5:22-cv-05114-TLB Document 2-2                         Filed 06/15/22 Page 4 of 30 PageID #: 167

          Agency Code     24-0038-00                                                                       Policy Number    194624-70586522


                                                                                                                             59375 (7-05)



                  "IMPORTANT NOTICE REGARDING FIRE PROTECTION
          Dear Policyholder:

          Did you know that the firefighting ability of your Fire Department helps lower your insurance rates? It's true! The better
      -----your-firefighters-are-equippedandtrained,-the-better-their-aGGess-to-watedor-fighting-fires,-the-length-of-time-it-takes-for---- ------------
----==themto--arrivecatca-fire;care-acfewofthe-manyfactorsthatchavecancimpactconyourcproperty,insurancecratesccHelpcyour===--
          firefighters help you! They need your support, financial, and otherwise. Adequate funding is important to improving the
           protection that may translate to lower premiums!"



          59375 (7-05)                                                                                                        Page 1 of 1
               Case 5:22-cv-05114-TLB Document 2-2                         Filed 06/15/22 Page 5 of 30 PageID #: 168

          Agency Code     24-0038-00                                                                      Policy Number    194624-70586522


                                                                                                                               59390 (1-15)



                          NOTIFICATION OF POSSIBLE CHANGES IN COVERAGE FOR
                                              TERRORISM

          Dear Policyholder:

         --The--Terrorism-Risk-lnsurance-Act(including ensuing-Congressional-actions-pursuant-to-the-Act)will-expire-on-December ---- --- - --------
-------=cc31•;c-2020•unlessthe•f'ederal•government•extendsthecAct:••What-this•means•toyou•iS•the•following:=------------..-

          1.   Subject to policy terms and conditions, the enclosed policy will provide insurance coverage for certified acts ofter-
               rorism as defined in the Act only until December 31, 2020.

          2.   A conditional endorsement entitled, Conditional Exclusion Of Terrorism Involving Nuclear, Biological Or Chemical
               Terrorism (Relating To Disposition Of Federal Terrorism Risk Insurance Act) is enclosed. This conditional endorse-
               ment will only apply if the Act is not extended or if the Act is revised to increase statutory deductibles, decrease the
               federal government's share in potential losses above the statutory deductibles, change the levels, terms or condftions
               of coverage and we are no longer required to make terrorism coverage available and elect not to do so. It will not
               apply if the Act is simply extended.

          3.   The conditional endorsement will provide coverage for an incident of terrorism pursuant to the terms and conditions of
               the policy only if the incident does not involve nuclear, biological or chemical material.

          4.   A premium charge for the conditional endorsement will be applied effective January 1, 2021. The premium will be pro
               rated for the remainder of the policy term and is one-half of the current premium charge appearing in the Declara-
               tions for TERRORISM - CERTIFIED ACTS. However, it will only be made if the Terrorism Risk Insurance Act (includ-
               ing ensuing Congressional actions pursuant to the Act) is not extend. Revised Declarations will be mailed to you after
               January 1, 2021.

          5.   If the Act is extended without any revision, the enclosed policy will continue to provide coverage for certified acts of
               terrorism. The conditional endorsement will not be activated and the changes in coverage or premium referenced
               above will not apply.

          6.   If the Act is extended with revisions or is replaced, and we are required or elect to continue to offer coverage for certi-
               fied acts of terrorism, we may amend this policy in accordance with the provisions of the revised Act or its replace-
               ment.

          This notice is for informational purposes only.

          If you have any questions concerning your policy or this notice, please contact your Auto-Owners agency.




          59390 (1-15)                                                                                                           Page 1 of 1
                Case 5:22-cv-05114-TLB Document 2-2                            Filed 06/15/22 Page 6 of 30 PageID #: 169

          Agency Code      24-0038-00                                                                           Policy Number     194624-70586522


                                                                                                                                     59325 (12-19)



                                                  NOTICE OF PRIVACY PRACTICES

          What We Do To Protect Your Privacy
             AfAutci-Owners Insurance Group*, we value your business and we want to retain your trust. In the course of providing
 . ···-- __ .productsand services, we .may obtain_nonpublic personal information about yJ)u. _We assure y-0u that.such information is-·····--····· ... ··---···
---,==usEid,-0nly,focthe,purpose,of,providingour,products,and,seiv1ces,to,you.===---                  ... = - - - - - - - - - - - - - - - - - - - - - - - · -

          Protecting Confidentiality
          Our agents and Company associates may have access to nonpublic personal information only for the purpose of
          providing our products or services to you. We maintain physical, electronic and procedural safeguards against
          unauthorized use of your nonpublic personal information.

          Information We Obtain
          To assist in underwriting and servicing your policy, we may obtain nonpublic personal information about you. For
          example, we routinely obtain information through applications, forms related to our products or services, from visiting
          www.auto-owners.com, and your transactions with us. We may obtain such information from our affiliates, independent
          insurance agents, governmental agencies, third parties, or consumer reporting agencies.

          The type of information that we collect depends on the product or service requested, but may include your name,
          address, contact information, social security number, credit history, claims history, information to properly investigate and
          resolve any claims, or billing information. We may obtain your medical history with your permission. The nature and
          extent of the information we obtain varies based on the nature of the products and services you receive.

          The Internet and Your Information
           If you would like to learn about how we gather and protect your information over the Internet, please see our online
           privacy statement at www.auto-owners.com/privacy.

           Generally, Auto-Owners may use cookies, analytics, and other technologies to help us provide users with better service
           and a more customized web experience. Our business partners may use tracking services, analytics, and other
           technologies to monitor visits to www.auto-owners.com. The website may use web beacons in addition to cookies. You
           may choose to not accept cookies by changing the settings in your web browser.

           Information obtained on our websites may include IP address, browser and platform types, domain names, access times,
           referral data, and your activity while using our site; who should use our web site; the security of information over the
           Internet; and links and co-branded sites.

           Limited Disclosure
           Auto-Owners Insurance Group companies do not disclose any nonpublic personal information about their customers or
           former customers except as permitted by law. We do not sell your personal information to anyone. We do not offer an
           opportunity for you to prevent or "opt out of' information sharing since we only share personal information with others as
           allowed by law.

           When sharing information with third parties to help us conduct our business, we require them to protect your personal
           information. We do not permit them to use or share your personal information for any purpose other than the work they
           are doing on our behalf or as required by law.


           59325 (12-19)                                                                                                               Pagelof2
               Case 5:22-cv-05114-TLB Document 2-2                      Filed 06/15/22 Page 7 of 30 PageID #: 170

         Agency Code      24-0038-00                                                                   Policy Number   194624-70586522

         The types of information disclosed may include personal information we collect as necessary to service your policy or
         account, investigate and pay claims, comply with state and federal regulatory requests or demands, and process other
         transactions that you request. Third parties that receive disclosures may include your independent agent, regulators,
         reinsurance companies, fraud prevention agencies, or insurance adjusters.

         How Long We Retain Your Information
              We generally retain your information as long as reasonably necessary to provide you services or to comply with
              applicable lawand in accordance with our documentretention policy. Wemayretain copies of information aboutyouand
              any transactions or services you have used for a period of time that is consistent with applicable law, applicable statute of
- ------ ------limitationsoras-we-believe-is-reasonably-necessary.to-mmplywith,applirnble-law.-regulation,-legal-process-or-------
-------c-govemmentalcrequest;ctocdetect·or,preventfraud;cto,collectcfees,owed,,tocresolve-disputes;cto,address,problems,with,our -------- --
              services, to assist with investigations, to enforce other applicable agreements or policies or to take any other actions
              consistent with applicable law.

         In some circumstances we may anonymize your personal information (so that it can no longer be associated with you) for
         research or statistical purposes, in which case we may use this information indefinitely without further notice to you. This
         allows the specific information collected (name, email, address, phone number, etc.) to become anonymous, but allows
         Auto-Owners to keep the transaction or engagement data.

         Changes to the Privacy Policy
         We will provide a notice of our privacy policy as required by law. This policy may change from time to time, but you can
         always review our current policy by visiting our website at www.auto-owners.com/privacy or by contacting us.

          Contact Us
          Auto-Owners Insurance Company
          Phone: 844-359-4595 (toll free)
          Email: privacyrequest@aoins.com

          *Auto-Owners Insurance Group includes, Auto-Owners Insurance Company, Auto-Owners Life Insurance Company,
           Home-Owners Insurance Company, Owners Insurance Company, Property-Owners Insurance Company and
           Southern-Owners Insurance Company.




          59325 (12-19)                                                                                                     Page2of2
              Case 5:22-cv-05114-TLB Document 2-2                      Filed 06/15/22 Page 8 of 30 PageID #: 171

         Agency Code     24-0038-00                                                                   Policy Number   194624-70586522


                                                                                                                         64339 (12-19)



                                     NOTICE OF CHANGE IN POLICY TERMS
                                  ARKANSAS CHANGES· ACTUAL CASH VALUE

        _DearPolicyholder:

       --F'orm-64328-(i'-19)-has.beenadded.to.your-policy...This.clarifiesthe.definitionof_ActuaLCash-Value.as.used-inyour
------ -,policy;c=This-change-could,be-construed-.as-a-.reductionincoveragecc===cc=.c==-------------- ----------------------------------

         This notice is for informational purposes only. Your policy contains the specific terms and conditions of coverage.

         If you have questions concerning this notice, please contact your Auto-Owners agent.



         64339 (12-19)                                                                                                     Page1of1
                            Case 5:22-cv-05114-TLB Document 2-2                                   Filed 06/15/22 Page 9 of 30 PageID #: 172



                  Owners                                                                   Page    1
                                                                                                                                               Issued      09-18-2020

                  INSURANCE COMPANY                                                                            TAILORED PROTECTION POLICY DECLARATIONS
                  6101 ANACAPRI BLVD., LANSING, Ml 48917-3999
                  AGENCY            SIMS & RENNER INSURANCE                                                                       Renewal Effective         11-04-2020
                                    24-0038-00         MKT TERR 116                 479-684-4100                        POLICY NUMBER          194624-70586522-20
                  INSURED           RMS WAREHOUSE 1315 LLC                                                              Company Use                     70-46-AR-1911

                                                                                                                    Company __            Policy .Term__             ______ _
                  ADDRESS           PO BOX8054                                                                        Bill        12:01 a.m.            12:01 a.m.
                                                                                                                                            to
---- -- -------------------------
                           -----------------                                                                             - ---11-04·20W-----11-04-2021-- ------
 -------- --- --- _F/1YETIEVILLE AR_nzo3:[®1 __ _ ------
           In consideration of payment of the premium shown below, this policy is renewed. Please attach this Declarations and attachments to your policy. If you
           have any questions, please consult with your agent.




                  Business Description:              Lessors Risk

                   Entity:             Limited Liab Corp

                   Program:            Mercantile

                       THIS POLICY CONSISTS OF THE FOLLOWING COVERAGE PART(S):                                                                           PREMIUM
                       COMMERCIAL PROPERTY COVERAGE                                                                                                     $39,473.00
                       COMMERCIAL GENERAL LIABILITY COVERAGE                                                                                               $646.00

                                                                                                                          TOTAL                         $40,119.00
                                                                                                       PAID IN FULL DISCOUNT                             $4,460.00
                                                                                TOTAL POLICY PREMIUM IF PAID IN FULL                                    $35,659.00

                       THIS PREMIUM MAY BE SUBJECT TO ADJUSTMENT.
                       The Paid in Full Discount does not apply to fixed fees, statutory charges or minimum premiums.


                   Forms that apply to all coverage part(s) shown above (except garage liability, dealer's blanket, commercial automobile. if applicable):
                   ILOOl 7 (11-85)            55003     (07-12)        59390     (01-15)

                   Countersigned By:
    Case 5:22-cv-05114-TLB Document 2-2                             Filed 06/15/22 Page 10 of 30 PageID #: 173


                                                               Page    2
Owners Ins. Co.                                                                                                  Issued     09-18-2020
AGENCY    SIMS & RENNER INSURANCE                                               Company      POLICY NUMBER        194624-70586522•20
          24-0038-00         MKT TERR 116                                         Bill                                 70-46-AR-1911
INSURED   RMS WAREHOUSE 1315 LLC                                                                    Term 11-04-2020 to 11-04-2021




The coverages and limits below apply separately to each location or sub!ocation that sustains a loss to covered property and is
designated in the Commercial Property Coverage Declarations. No deductible applies to the below Property Plus Coverages.

                               COVERAGE                                                                          LIMIT
ACCOUNTS RECEIVABLE                                                                                                           $100,000
BAILEES                                                                                                                            $5,000
                                                                                                                     $2,500 PER ITEM
BUSINESS INCOME & EXTRA EXPENSE W/RENTAL                                                                                          $50,000
   VALUE, INCLUDING NEWLY ACQUIRED LOC'S
    24 HOUR WAITING PERIOD
DEBRIS REMOVAL                                                                                                                    $25,000
ELECTRONIC DATA PROCESSING EQUIPMENT                                                                                              $25,000
EMPLOYEE DISHONESTY                                                                                                               $15,000
FINE ARTS, COLLECTIBLES AND MEMORABILIA                                                                                           $10,000
                                                                                                                     $2,500 PER ITEM
FIRE DEPARTMENT SERVICE CHARGE                                                                                                     $5,000
FORGERY AND ALTERATION                                                                                                            $10,000
MONEY AND SECURITIES INSIDE PREMISES                                                                                              $15,000
MONEY AND SECURITIES OUTSIDE PREMISES                                                                                             $15,000
NEWLY ACQUIRED BUSINESS PERSONAL PROPERTY                                                                     $500,000 FOR 90 DAYS
NEWLY ACQUIRED OR CONSTRUCTED PROPERTY                                                                      $1,000,000 FOR 90 DAYS
ORDINANCE OR LAW                                                                                      SEE COMMERCIAL PROPERTY
                                                                                                                      DECLARATIONS
OUTDOOR PROPERTY                                                                                                                  $15,000
    TREES, SHRUBS OR PLANTS                                                                                          $1,000 PER ITEM
RADIO OR TELEVISION ANTENNAS                                                                                                      $10,000
PERSONAL EFFECTS AND PROPERTY OF OTHERS                                                                                           $15,000
POLLUTANT CLEAN UP AND REMOVAL                                                                                                    $25,000
PROPERTY IN TRANSIT                                                                                                               $25,000
PROPERTY OFF PREMISES                                                                                                             $25,000
REFRIGERATED PRODUCTS                                                                                                             $10,000
SALESPERSON'S SAMPLES                                                                                                             $10,000
           Case 5:22-cv-05114-TLB Document 2-2                             Filed 06/15/22 Page 11 of 30 PageID #: 174


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       Owners Ins. Co.                                                                                                              Issued       09-18-2020

       AGENCY    SIMS & RENNER INSURANCE                                               Company         POLICY NUMBER                 194624-70586522-20
                 24-0038-00         MKT TERR 116                                         Bill                                                 70-46-AR-1911

       INSURED   RMS WAREHOUSE 1315 LLC                                                                          Term      11-04-2020 to         11-04-2021




--- ------------------------ ---------coVERAGE ___________________ ---------------------------------         --------- --------i:IMIT ------------------------
                                                                                          --------------- ---- -------------- -------------

       UTILITY SERVICES FAILURE                                                                                                                    $50,000
       VALUABLE PAPERS AND RECORDS ON PREMISES                                                                                                     $50,000
       VALUABLE PAPERS AND RECORDS OFF PREMISES                                                                                                    $10,000
       WATER BACK-UP FROM SEWERS OR DRAINS                                                                                                         $15,000


       Forms that apply to this coverage part:
       64004       {12-10)        54198     (12-10)         54334     (12-10)         64020       (12-10)                 54189         (12-10)
       54186       (12-10)        54218     (03-13)         54217     (03-13)         54216       (03-13)                 54214         {03-13)
       54221       (12-10)        54220     (06-00)         54219     (12-10)         54338       (03-13)                 54339         (03-13)
       64010       {12-10)        64000     (12-10)
       Coverages Provided

       Insurance at the described premises applies only for coverages for which a limit of insurance is shown.




       Location: 1315 N 13Th St, Rogers, AR 72756-2301


       Secured Interested Parties: See Attached Schedule

       Rating Information
       Territory: 040                                                         County: Benton
       Program: Mercantile                                                    Construction: Non-Comb
       Protection Class: 06                                                   Class Code: 0433
       Rated As Sprinklered                                                   Specific Rate - Building: 0.328
       Specific Rate - Business Income W/Ee & Rental Value: 0.328


                         COVERAGE                          COINSURANCE DEDUCTIBLE                        LIMIT                   RATE          PREMIUM
       BUILDING                                                                                              $13,689,000
        Causes of Loss
          Basic Group I                                                 80%          $10,000                                        0.168         $22,998.00
           Basic Group 11                                               80%          $10,000                                        0.050          $6,845.00
           Windstorm/Hail                                               80%               1%                                                        Included
           Special                                                      80%          $10,000                                        0.024          $3,285.00
           Theft                                                        80%          $10,000                                                        Included
        OPTIONAL COVERAGE
          Inflation Guard Factor Building 1.000
          Replacement Cost
          Equipment Breakdown                                                        $10,000           See Form 54843                               $748.00
          Property Plus Coverage Package                                               None         See 55198 (12-1O)                             $2,511.00
          Tier: Standard
         Case 5:22-cv-05114-TLB Document 2-2                                                                                    Filed 06/15/22 Page 12 of 30 PageID #: 175


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 Owners Ins. Co.                                                                                                                                                                               Issued           09-18-2020
 AGENCY      SIMS & RENNER INSURANCE                                                                                                           Company          POLICY NUMBER                    194624-70586522-20
             24-0038-00         MKT TERR 116                                                                                                     Bill                                                 70-46-AR-1911

 INSURED     RMS WAREHOUSE 1315 LLC                                                                                                                                      Tern, 11-04-2020 to 11-04-2021




                     --
                          COVERAGE
                           .... ---------- ..         .. . . . . . . . . . . . . . . . . .
                                                                                                  COINSURANCE
                                                                                                       -- --- ---- -
                                                                                                                     DEDUCTIBLE
                                                                                                                      .............
                                                                                                                                                                  LIMIT                    RATE              PREMIUM
 ORDINANCE OR LAW
------Goverage--A-Undamaged-Portion-                     --- -- ---------- ------- ------ - -----------                              --- ------$10,000 --------Ind-in-Bldg Limit           -----------    ----------Included
-----                                     --------- -------- - -----------                            ------ --- --   --- -------- -                       --- - -----
   ---- -cOVerage··Bc.Demolition--·                                                          ---- C                         --------- -      $1d;(loll -                  $60,llbd --------------------   - --- - "1nauaed

        Coverage C-lncreased Cost                                                                                                            $10,000                      $60,000                                     Included
 BUSINESS INCOME W/EE & RENTAL VALUE                                                                                                                                     $600,000
     24 Hour Waiting Period
  Causes of Loss
    Basic Group I                                                                                                                                  $0                                         0.177                  $1,062.00
        Basic Group II                                                                                                                             $0                                         0.132                   $792.00
        Special                                                                                                                                    $0                                         0.058                   $348.00
        Theft                                                                                                                                      $0                                                                 Included
   OPTIONAL COVERAGE
        Monthly Limit of Indemnity (fraction) 1/6
        Equipment Breakdown                                                                                                                        $0          See Form 54843                                          $55.00
  BUSINESS INCOME W/EE & RENTAL VALUE
    Ord/Law-Inc Period Restoration                                                                                                                 $0           Incl in Bldg Limit                                    $438,00


  Forms that apply to this building:
  59350         (01-15)                54835          (07-08)                                         59372           (06-07)                  IL0003       (07-02)               64285             (07-17)
  64328         (07-19)                59325          (12-19)                                         CP0090          (07-88)                  54585        (12-10)               64000             (12-10)
  64013         (12-10)                64010          (12-10)                                         64020           (12-10)                  64004        (12-10)               54843             (07-19)
  54317         (02-05)                59390          (01-15)

  COMMERCIAL PROPERTY COVERAGE· LOCATION 0001 SUMMARY                                                                                                                                                        PREMIUM
 TERRORISM - CERTIFIED ACTS                           SEE FORM: 59350, 54835, 59390                                                                                                                                   $391.00
                                                                                                                                                              LOCATION 0001                                     $39,473.00

  Secured Interested Parties and/or Additional Interested Parties
    Applies to LodBldg(s):
    0001/001
    SIMMONS BANK
    4200 Rogers Avenue
    Fort Smith, AR 72903
    Interest: Mortgagee




                                                                        COVERAGE                                                                                                   LIMITS OF INSURANCE
         General Aggregate                                                                                                                                                       $2,000,000
           (Other Than Products-Completed Operations)
         Products-Completed Operations Aggregate                                                                                                                                 $2,000,000
         Personal And Advertising Injury                                                                                                                                         $1,000,000
                  Case 5:22-cv-05114-TLB Document 2-2                                 Filed 06/15/22 Page 13 of 30 PageID #: 176


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              Owners Ins. Co.                                                                                                     Issued   09-18-2020
              AGENCY     SIMS & RENNER INSURANCE                                                Company     POLICY NUMBER         194624-70586522-20
                         24-0038-00         MKT TERR 116                                          Bill                                 70-46-AR-1911

              INSURED    RMS WAREHOUSE 1315 LLC                                                                     Term 11-04-2020 to 11-04-2021




                                                           COVERAGE                                                        LIMITS OF INSURANCE
                  Each Occurrence                                                                                         $1,000,000

----- 0   ,   CQMMl:flCll'\L <iEIIJERP.LLll'\EllUTY-PLUS-ENDORSEMENT- ---
                  Damage to Premises Rented to You                                                                         $300,000 Any One Premises
                        (Fire, Lightning, Explosion, Smoke or Water Damage}
                  Medical Payments                                                                                          $10,000 Any One Person
                  Hired Auto & Non-Owned Auto                                                                             $1,000,000 Each Occurrence
                  Expanded Coverage Details See Form:
                       Extended Watercraft
                       Personal Injury Extension
                       Broadened Supplementary Payments
                       Broadened Knowledge Of Occurrence
                    Additional Products-Completed Operations Aggregate
                       Blanket Additional Insured - Lessor of Leased Equipment
                       Blanket Additional Insured - Managers or Lessors of Premises
                       Newly Formed or Acquired Organizations Extension
                       Blanket Waiver of Subrogation

              Twice the "General Aggregate Limit", shown above, is provided at no additional charge for each 12 month period in
              accordance with form 55885.

              AUDIT TYPE: Non-Audited


              Forms that apply to this coverage:
              59350    (01-15)           55405         (07-08)      55146        (06-04)        CG2106    (05-14)         55091      (05-17)
              IL0021 (07-02)             IL0199        (07-02)      CG2608       (04-90)        CGOOOl    (04-13)         59372      (06-07)
              IL0017 (11-85)             CG0142        (07-11)      55513        (05-17)        CG2109    (06-15)         55729      (05-17)
              55029    (05-17)           CG2196        (03-05)      CG2132       (05-09)        CG2147    (12-07)         55885      (05-17)
              59325    (12-19)           59390         (01-15)




              Location: 1315 N 13Th St, Rogers, AR 72756-2301
              Territory: 001                                              County: Benton

                                    CLASSIFICATION                        CODE             SUBLINE      PREMIUM BASIS         RATE         PREMIUM

               Commercial General Liability Plus Endorsement                  00501                       Prem/Op Prem
               Included At 7.5% Of The Premises Operation Premium                             Prem/Op          Included       Included         Included


               Warehouses-Manufacturing Or Private Buildings Or               68702                                Area     Each 1000
               Premises-Occupied By Multiple Interests (Lessors Risk                         Prem/Op            219,300         2.687          $589.00
               Only)                                                                    Prod/Comp Op            219,300           .234          $51.00

              COMMERCIAL GENERAL LIABILITY COVERAGE - LOCATION 0001 SUMMARY                                                                PREMIUM
               TERRORISM - CERTIFIED ACTS              SEE FORM: 59350, 55405, 59390                                                              $6.00
                                                                                                           LOCATION 0001                        $646.00
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                                                                                                                           54835 (7-08)


                       THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                CONDITIONAL EXCLUSION OF TERRORISM
            INVOLVING NUCLEAR~BIOLOGICAL OR CHEMICAL
··-
      0
          ="fERRQ•R1SM···-·(FfEliA'"FING:T=@:01sp0si'flON e1==i:::1:0ERAL
                  TERRORISM RISK INSURANCE ACT)
          This endorsement modifies insurance provided under the following:

             COMMERCIAL PROPERTY COVERAGE PART


          A. Applicability Of This Endorsement                                   3.   If this endorsement does NOT become appli-
                                                                                      cable, then any terrorism endorsement al-
              1. The provisions of this endorsement will                              ready endorsed to this policy, that addresses
                  apply if and when one of the following                              "certified acts of terrorism", will remain in
                  situations occurs:                                                  effect. However, if the Program is renewed,
                                                                                      extended or otherwise continued in effect
                  a.    The federal Terrorism Risk Insurance                          with revisions that change the level or terms
                        Program ("Program"), established by the                       or conditions of coverage, and we are re..
                        Terrorism Risk Insurance Act of 2002 (in-                     quired to offer you the revised coverage or to
                        cluding ensuing Congressional actions                         provide the revised coverage to those who
                        pursuant to the Act), terminates; or                          previously accepted coverage under the
                                                                                      Program, then we will take the appropriate
                  b. The Program is renewed, extended or                              steps in response to the federal require-
                     otherwise continued in effect:                                   ments.

                        (1) With revisions that increase insurers'           B. The following definition is added and applies under
                            statutory percentage deductible or                  this endorsement wherever the term terrorism is
                            decrease the federal government's                   enclosed in quotation marks.
                            statutory percentage share In poten-                "Terrorism 11 means activities against persons, or-
                            tial terrorism losses above such de-                ganizations or property of any nature:
                            ductible, or that results in a change in
                            the level or terms or conditions of                   1. That involve the following or preparation for the
                            coverage; and                                            following:

                        (2) We are not required by the Program                        a.   Use or threat of force or violence; or
                            to make terrorism coverage available
                            to you and elect not to do so.                            b. Commission or threat of a dangerous act; or

              2. When this endorsement becomes applicable                             c.   Commission or threat of an act that inter-
                 in accordance with the terms of A.1.a. or                                 feres with or disrupts an electronic, com-
                 A.1.b., above, it supersedes any terrorism                                munication, information, or mechanical
                 endorsement already endorsed to this policy                               system; and
                 that addresses "certified acts of terrorism ...



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                    2. When one or both of the following applies:                       1.   The "terrorism" is carried out by means of the
                                                                                             dispersal or application of radioactive material,
                        a. The effect is to intimidate or coerce a gov-                      or through the use of a nuclear weapon or
                            ernment or the civilian population or any                        device that involves or produces a nuclear
                            segments thereof, or to disrupt any segment                      reaction, nuclear radiation or radioactive
                            of the economy: or                                               contamination:

                        b. It appears that the intent is to intimidate or               2. Radioactive material is released, and it appears
                               coerce a government or the civilian popu,                     that one purpose otthe "terrorism" was to re,
                               lation or to further political. ideological,                  lease such material;
                     ---- ----religious,--social or-economic objectives-orto
-- - ------------
                          - - -express (or express opposition. to)cacphilos•, ,      - ----.3.• -The"terrorisrn".is,carriedout_bymeansoHhe,
                               ophy or ideology.                                             dispersal or application of pathogenic or
                                                                                             poisonous biological or chemical materials; or
              C. The following exclusion is added:
                                                                                        4.   Pathogenic or poisonous biological or chemical
                    Exclusion Of "Terrorism"                                                 materials are released, and it appears that one
                                                                                             purpose of the 11terrorism 11 was to release such
                    We will not pay for loss or damage caused directly                       materials.
                    or indirectly by "terrorism", including action in hinder-
                    ing or defending against an actual or expected                      Multiple incidents of "terrorism" which occur within a
                    incident of 11 terrorism 0 • Such loss or damage is ex-             72-hour period and appear to be carried out in
                    cluded regardless of any other cause or event that                  concert or to have a related purpose or common
                    contributes concurrently or in any sequence to the                  leadership will be deemed to be one incident,
                    loss. This exclusion applies only when one or more                  regardless of whether this endorsement was in
                    of the following are attributed to an incident of                   effect during the entirety of that time period or not.
                    "terrorism":



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                                                                                                                                             54843 (7-19)


                                    THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


                                           EQUIPMENT BREAKDOWN COVERAGE
         This_ endorsement modifies _insurance provided_ under the following:_
---- - - -- - - - --- ----- ... -----       - - ----- - -- -- --- - ----- ----    - -- ------
             - -- BU ILD ING-AND PERSONAL PROPERTY COVERAG EFORM
                  CONDOMINIUM ASSOCIATION COVERAGE FORM
                  CONDOMINIUM COMMERCIAL UNIT-OWNERS COVERAGE FORM
                  CAUSES OF LOSS - BASIC FORM
                  CAUSES OF LOSS - BROAD FORM
                  CAUSES OF LOSS - SPECIAL FORM

         1. BUILDING AND PERSONAL PROPERTY                                                                           a result of "Equipment Breakdown".
                    COVERAGE FORM, CONDOMINIUM                                                                       To the extent that "electronic data"
                    ASSOCIATION COVERAGE FORM and                                                                    is not replaced or restored, the loss
                    CONDOMINIUM COMMERCIAL UNIT-OWNERS                                                               will be valued at the cost of replace-
                    COVERAGE FORM are amended.                                                                       ment of the media on which the
                    a. A. COVERAGE is amended. The following cov-                                                    "electronic data" was stored, with
                       erage is added for purposes of this endorsement                                               blank media of substantially identi-
                       only.                                                                                         cal type.
                       We will pay for "Equipment Breakdown" in any                                             (2) The amount we pay is subject to the
                       one occurrence at any one location where                                                      Limits of Insurance section of this
                       "Equipment Breakdown" is shown in the Decla-                                                  endorsement.
                       rations. The most we will pay for "Equipment                                     (3) The following Additional Coverages are
                       Breakdown" is shown in the Declarations and is                                       added.
                       subject to the Limits of Insurance section of this                                   (a) Expediting Expenses
                       endorsement.                                                                             We will pay for the expediting expense
                    b. A. COVERAGE, 4. Additional Coverages is                                                  loss resulting from an "Equipment
                       amended for purposes of this endorsement only.                                           Breakdown" with respect to your dam-
                       (1) d. Pollutant Clean-up And Removal is                                                 aged Covered Property. We will pay the
                            deleted and replaced by the following                                               "reasonable extra costt' to:
                            Additional Coverage.                                                                1) Make temporary repairs;
                            d. Pollutant Clean-up And Removal                                                   2) Expedite permanent repairs; or
                                We will pay for the pollutant clean-up,                                         3) Expedite permanent replacement.
                                removal, repair or replacement of dam-                                          "Reasonable extra cost" shall mean "the
                                aged Covered Property resulting from                                            extra cost of temporary repair and of ex-
                                an "Equipment Breakdown". The                                                   pediting the repair of such damaged
                                amount we pay is subject to the Limits                                          equipment of the insured, including
                                of Insurance section of this                                                    overtime and the extra cost of express
                                endorsement. This coverage does not                                             or other rapid means of transportation".
                                include contamination of perishable                                             The amount we pay is subject to the
                                stock by a refrigerant.                                                         Limits of Insurance section of this
                       (2) e. Electronic Data is deleted and replaced                                           endorsement.
                            by the following Additional Coverage.                                           (b) Refrigerant Contamination
                            e. Electronic Data Restoration                                                      We will pay for loss to your Covered
                                (1) We will pay for your reasonable and                                         Property that is damaged by contami-
                                     necessary cost to research, replace                                        nation by a refrigerant used in
                                     or restore "electronic data" which                                         refrigerating, cooling or humidity control
                                     has been destroyed or corrupted as                                         equipment at the described premises as


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                                                           a result of an "Equipment Breakdown".                                                                                                     refrigerant containing CFC (chlorofluoro-
                                                           The amount we pay is subject to the                                                                                                       carbon) substances.
                                                           Limits of Insurance section of this                                                                                                       11
                                                                                                                                                                                                        Additional costs 11 mean those in ex-
                                                           endorsement.                                                                                                                              cess of what would have been required
                                               (c) Spoilage Coverage                                                                                                                                 to repair or replace Covered Property,
                                                           1) We will pay for loss of "perishable                                                                                                    had no CFC refrigerant been involved.
                                                                  goods" caused by spoilage resulting                                                                                                We will also pay for additional loss as
                                                                  from lack of power, light, heat,                                                                                                   described under Spoilage Coverage or
                                                                  steam or refrigeration caused by an                                                                                                loss of Business Income Coverage pro-
                                                                  "Equipment Breakdown" to types of                                                                                                  vided by this endorsement, caused by
                                            -- ------ --------property covered .bythis-policy, that.                                                      . ------------ .... --the presence.of a refrigerant containing
•-••····•••----•-•••••••••-•-····•••-••--·•-·•--••-•--- •-• ---- .are:        ••••••••-•-••••--•••····••••--••cc•••••••-•--•- ••••••••••••••••••   ••••-••--•·•••••••••••·••·•·••••·••·••·-•••··     CFC.substances.,
                                                                  a) Located on or within 1,000 feet                                                                                                 We will pay no more than the least of
                                                                        of your described premises; and                                                                                              the following:
                                                                  b) Owned by you, the building                                                                                                      1) The cost to repair the damaged
                                                                        owner (if you are a tenant), or                                                                                                     property and replace any lost CFC
                                                                        owned by a public utility, or                                                                                                       refrigerant;
                                                                        other supplier with whom you                                                                                                 2) The cost to repair the damaged
                                                                        have a contract to supply you                                                                                                       property, retrofit the system to ac-
                                                                        with any of the following ser-                                                                                                      cept a non-CFC refrigerant, and
                                                                        vices: electrical power, waste                                                                                                      charge the system with a non-CFC
                                                                        disposal, air conditioning, refrig-                                                                                                 refrigerant; or
                                                                        eration, heating, natural gas,                                                                                               3) The cost to replace the system with
                                                                        compressed air, water, steam,                                                                                                       one using a non-CFC refrigerant.
                                                                        internet access, telecommunica-                                                                                              The amount we pay is subject to the
                                                                        tions services, wide area net-                                                                                                Limits of Insurance section of this
                                                                        works or data transmission.                                                                                                   endorsement.
                                                           2) However, we will not pay for any                                                                                                   (e) Computer Equipment
                                                                  physical loss or damage caused by                                                                                                  We will pay for direct physical loss or
                                                                   or resulting from any of the causes                                                                                                damage to your computers as a result of
                                                                   of loss listed below, unless loss or                                                                                               an 11 Equipment Breakdown 11 •
                                                                   damage not otherwise excluded                                                                                                      The amount we pay is subject to the
                                                                   results, then we will pay for such                                                                                                 Limits of Insurance section of this
                                                                  resulting damage:                                                                                                                   endorsement.
                                                                   a) Fire, lightning, combustion ex-                                                                                            (I) Business Interruption, Extra Expense,
                                                                        plosion, windstorm or hail,                                                                                                   Electronic Data and Service
                                                                        weight of snow, ice or sleet, fall-                                                                                           Interruption
                                                                        ing objects, smoke, aircraft or                                                                                               Any insurance provided for Business In-
                                                                        vehicles, riot or civil commotion,                                                                                            come, Extra Expense or Electronic Data
                                                                        vandalism, sinkhole collapse,                                                                                                 is extended to apply to your loss, dam-
                                                                        volcanic action, leakage from                                                                                                 age or expense caused by an "Equip-
                                                                        fire extinguishing equipment,                                                                                                 ment Breakdown" to equipment that is
                                                                        water damage, earth move-                                                                                                     owned by a utility, landlord or other sup-
                                                                        ment; or                                                                                                                      plier with whom you have a contract to
                                                                   b) Flood, unless an "Equipment                                                                                                     supply you with any of the following ser-
                                                                        Breakdown" ensues.                                                                                                            vices: electrical power, waste disposal,
                                                            Our payment will be based upon the                                                                                                        air conditioning, refrigeration, heating,
                                                            actual replacement cost of the "per-                                                                                                      natural gas, compressed air, water,
                                                            ishable goods" at the time of loss. The                                                                                                   steam, internet access, telecommunica-
                                                            amount we pay is subject to the Limits                                                                                                    tions services, wide area networks, data
                                                            of Insurance section of this                                                                                                              transmission or "cloud computing 11 • The
                                                            endorsement.                                                                                                                              equipment must meet the definition of
                                                (d) CFC Refrigerants                                                                                                                                  "Equipment Breakdown" except that it is
                                                            We will pay for the "additional costs" to                                                                                                 not Covered Property.
                                                            repair or replace Covered Property
                                                            because of the use or presence of a


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                   We will pay:                                                                         introduced into or enacted on a com-
                   1) Your actual loss sustained from a                                                 puter system or a network to which it is
                         total or partial interruption of busi-                                         connected, designed to damage or de-
                         ness; and                                                                      stray any part of the system or disrupt
                   2) The reasonable extra expense you                                                  its normal operation.
                         sustain to run your business during                                            The amount we pay is subject to the
                         the interruption, caused solely by an                                          Limits of Insurance section of this
                         "Equipment Breakdown", including                                               endorsement.
                         an "Equipment Breakdown"Jo any                                          (i) Risk Improvement
                         transformer, electrical apparatus, or                                          If Covered Property suffers direct phys-
                -- -------anycovered equipment-thatis: ______ --------                     __ _ ... icaLloss or.damage caused.by an
                     - a)- Located on orwithinJ,000/eet .- •• -•-•·--•••••••••••--•••••••••••••••• •••· "EquipmentBreakdown",wewill.payJor, ••
                              of your described premises;                                               the insured to improve the "power qual-
                         b) Owned by you, the building                                                  ity" of the electrical system or equipment
                              owner (if you are a tenant), or                                           at the loss location where the "Equip-
                              owned by a public utility com-                                            ment Breakdown" occurred. "Power
                              pany; and                                                                 quality" means the conditions that allow
                         c) Used to supply electrical power,                                            electrical systems or equipment to op-
                              waste disposal, air conditioning,                                         erate as intended by limiting voltage
                              refrigeration, heating, natural                                           fluctuations and other power influences
                              gas, compressed air, water,                                               that would adversely affect the opera-
                              steam, internet access, tele-                                             tional performance and/or reduce the
                              communications services, wide                                             reliability or the lifespan of the electrical
                              area networks or data                                                     system.
                              transmission.                                                             We will pay the reasonable extra cost to
                    The amount we pay is subject to the                                                 improve "power quality" for the following
                    Limits of Insurance section of this                                                 electrical systems and/or equipment
                    endorsement.                                                                        improvements:
              (g) Temperature Fluctuation                                                                1) Installation of surge protection de-
                    We will pay for loss of "perishable                                                      vices (SPD's) which are installed at
                    goods" only caused by or resulting from                                                  the loss location's line disconnect,
                    any condition or event to Covered Prop-                                                  load disconnect, or on specific
                    erty that can be resolved by calibrating,                                                pieces of equipment and that are
                    resetting, tightening, adjusting or                                                      certified by Underwriter Laboratories
                    cleaning.                                                                                (UL) or has an equivalent
                    However, we will not pay for loss of                                                     certification.
                    "perishable goods" as a result of re-                                                    However, SPD's do not include any
                    setting the power supply to the Covered                                                  SPD's which are cord-connected
                    Property containing the "perishable                                                      surge strips, direct plug-in SPD's or
                    goods".                                                                                  receptacle SPD's;
                    The amount we pay is subject to the                                                  2) An upgrade and/or replacement of
                    Limits of Insurance section of this                                                      electrical panels, switchgear and/or
                    endorsement.                                                                             circuit breakers; or
              (h) Unauthorized Instruction                                                               3) Electrical wire and wiring improve-
                    We will pay for loss or damage to your                                                   ments which include installation of
                    "computer equipment" caused by an                                                        flexible conduit, junction boxes
                    "unauthorized instruction" which results                                                 and/or ground wiring.
                    in an "Equipment Breakdown".                                                         An invoice for implementation of this
                    "Computer equipment" means Covered                                                   Additional Coverage must be sent to us
                    Property that is electronic computer or                                              within 180 days after the payment of the
                    other data processing equipment, in-                                                 loss is received.
                    eluding peripherals used in conjunction                                              The amount we pay is subject to the
                    with such equipment and electronic                                                   Limits of Insurance section of this
                    media and records.                                                                   endorsement.
                    "Unauthorized instruction 11 means a
                    virus, harmful code or similar instruction


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                                            (j) Off-Premises Coverage                                                                Temperature Fluctuation, Risk
                                                  We will pay for loss or damage to Cov-                                             Improvement and Off-Premises
                                                  ered Property resulting from a covered                                             Coverage are not additional limits of
                                                  "Equipment Breakdown" while tempo-                                                 insurance, but are included in the "total
                                                  rarily at a premises or location that is                                           insured value". We will pay the lesser of
                                                  not a described premises.                                                          "total insured value" or:
                                                  The amount we pay is subject to the                                                a. For Pollutant Clean-up And Re-
                                                  Limits of Insurance section of this                                                       moval, the greater of $250,000 or
                                                  endorsement.                                                                              the limit shown in the Declarations
                                     (4) 5. Coverage Extensions is amended. The                                                            for Pollutant Clean-up And Removal
                                ---- --- ----following coverage- extension-is added.---- ___ ------ _----------                  __________ or_ theJimit shownJn_an endorse, _
-•••••••--•••• ,--,- ·-·--••••- - • - •ReplacementCostCoverage•••                                              •• •••••-••••- •--•••••-----•••-•••-••-ment,thatisattachedtotheproperty.
                                            We will pay you the amount you actually                                                         form;
                                            spend to repair or replace your damaged                                                  b. For Electronic Data Restoration, up
                                            property with new property of like kind, ca-                                                    to $100,000 for loss, damage or ex-
                                            pacity, size and quality, whichever is less                                                     pense including actual loss of Busi-
                                            except for the following.                                                                       ness Income you sustain and nee-
                                            If any damaged property is not repaired or                                                      essary Extra Expense you incur;
                                            replaced, then we will pay only the actual                                               c. For Refrigerant Contamination, up
                                            cash value at the time of the "Equipment                                                        to $750,000 for loss or damage;
                                            Breakdown".                                                                              d. For Spoilage Coverage, up to
                               c. B. EXCLUSIONS AND LIMITATIONS is                                                                          $750,000 for loss or damage;
                                      amended. The following provision is added for                                                   e. For Temperature Fluctuation, up to
                                      purposes of this endorsement only.                                                                    $5,000 for loss including actual loss
                                      Under Business Interruption, Extra Expense and                                                        of Business Income you sustain and
                                      Service Interruption, we will not pay for:                                                             necessary Extra Expense you incur;
                                      (1) The interruption of business that would not                                                f. For Risk Improvement, 10% of the
                                             or could not have been carried on if the                                                        loss amount paid, up to a maximum
                                             "Equipment Breakdown" had not occurred;                                                         limit of $10,000; and
                                      (2) Your failure to use due diligence and dis-                                                  g. For Off-Premises Coverage, up to
                                             patch and all reasonable means to resume                                                        $25,000 for loss or damage.
                                             business at the location(s) shown on the                                          3. In no event will we pay more than the
                                             Declarations page; or                                                                    "total insured value" for each location
                                      (3) The part of any loss or expense that is due                                                 where "Equipment Breakdown" is shown
                                             solely to the suspension, lapse or cancella-                                             in the Declarations.
                                             lion of a contract following an "Equipment                                        4. As regards Business Interruption, Extra
                                             Breakdown" extending beyond the time                                                     Expense and Service Interruption, our
                                             business would have resumed if the contract                                              limit of liability for any one "Equipment
                                             had not lapsed, been suspended or                                                        Breakdown" is equal to twelve (12) con-
                                             canceled.                                                                                secutive months of actual loss sustained
                                d. C. LIMITS OF INSURANCE is deleted and re-                                                          for a total or partial interruption of your
                                      placed by the following provisions for purposes                                                 business. The twelve (12) consecutive
                                      of this endorsement only.                                                                       months begin on the date of the "Equip-
                                      C. LIMITS OF INSURANCE                                                                          ment Breakdown".
                                             1. The most we will pay for "Equipment                              e. When the Equipment Breakdown Deductible
                                                   Breakdown" for one or more coverages                               Exception Schedule is attached to this policy, for
                                                   in any one occurrence at any one loca-                             purposes of this endorsement only, D.
                                                   lion is the amount equal to the "total                             DEDUCTIBLE is deleted and replaced by the
                                                   insured value" at each location where                              following wherever it appears in this Coverage
                                                   "Equipment Breakdown" is shown in the                               Part or any endorsement attached to this
                                                   Declarations. This provision does not                               Coverage Part.
                                                   apply to paragraph C.4.                                             D. DEDUCTIBLE
                                              2. The limit of insurance for Pollutant                                          The applicable Deductible shown in the
                                                   Clean-up And Removal, Electronic                                             Equipment Breakdown Deductible Exception
                                                   Data Restoration, Refrigerant Con-                                           Schedule (hereinafter referred to as
                                                   tamination, Spoilage Coverage,                                               Schedule) will apply unless otherwise stated


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                    in the endorsement. If no applicable                               6.    When a Multiple of ADV Deductible is
                    Deductible is shown in the Schedule for a                                shown in the Schedule, the amount of
                    coverage, the policy Deductible shown in the                             Deductible will be calculated as follows:
                    Declarations will apply to such coverage                                 a. Take the amount of Business
                    unless otherwise stated.                                                     Income that you would have earned
                    In any one occurrence of loss or damage                                      during the "period of restoration"
                    (hereinafter referred to as loss), the                                       had no "Equipment Breakdown" loss
                    Deductible will apply as follows.                                            occurred (Business Income and
                    1. Multiple Deductibles mayapplyto a                                         "period of restoration" have the
                           loss.                                                                 meanings set forth in the
- -- ----- --- ----------- However,-if multiple-types ofCovered                                  BUSINESS INCOME.form-attached------
                           Property-are-involvedin• a,loss and                                 - to this policy),The Business--•-----•-•••-••------- -----
                           different Deductibles are shown in the                                Income will include the entire
                           Schedule for the different types of                                   location regardless of the loss
                           Covered Property, only the largest                                    affecting the entire location or part
                           applicable Deductible for each coverage                               of the location. If two or more
                           will apply.                                                           locations are affected in the
                           When a Deductible in the Schedule                                     "Equipment Breakdown" loss. the
                           applies to a Business Income or Extra                                 Business Income will be the
                           Expense loss, such Deductible applies                                 combined amount of all affected
                           in place of any waiting period set forth in                           locations.
                           the BUSINESS INCOME form attached                                 b. Take the result in paragraph 6.a.
                           to this policy.                                                       and divide it by the number of days
                     2. If the adjusted amount of loss is less                                   your business would have been
                           than or equal to the Deductible, we will                              operating during the "period of
                           not pay for that loss. If the adjusted                                restoration" had no "Equipment
                           amount of loss exceeds the Deductible,                                Breakdown" occurred. This result is
                           we will then subtract the Deductible from                             the Average Daily Value.
                           the amount of loss we would otherwise                             c. The Average Daily Value calculated
                           pay and will pay the resulting amount or                              in paragraph 6.b. multiplied by the
                           the Limit of Insurance, whichever is                                  number shown in the Schedule is
                            less.                                                                the amount of the Multiple of ADV
                     3. The Schedule may indicate Direct                                          Deductible. We will subtract this
                           Coverages Deductibles and Indirect                                    amount from the amount of loss we
                            Coverages Deductibles. Unless                                        would otherwise pay and will pay
                           otherwise indicated in the Schedule,                                  the resulting amount or the Limit of
                            Indirect Coverages Deductibles apply to                               Insurance, whichever is less.
                            Business Income loss and Extra                    f.   F. ADDITIONAL CONDITIONS is amended.
                            Expense loss and Direct Coverages                      The following Conditions are added for purposes
                            Deductibles apply to all other loss.                   of this endorsement only.
                     4. When a Dollar Deductible is shown in                       (1) Suspension
                           the Schedule, we will subtract the                           Whenever Covered Property is found to be
                            Deductible amount from the amount of                        in, or exposed to. a dangerous condition,
                            loss we would otherwise pay and will                        any of our representatives may immediately
                            pay the resulting amount or the Limit of                    suspend the insurance against loss to that
                            Insurance, whichever is less.                               Covered Property for the perils covered by
                     5. When a Time Deductible is shown in the                          this endorsement. Coverage can be
                            Schedule. we will not pay for loss that                     suspended and possibly reinstated by
                            occurs during the specified time period                     delivering or mailing a written notice of
                            immediately following the "Equipment                        suspension or coverage reinstatement to:
                            Breakdown" occurrence. If the Time                          (a) Your last known address: or
                            Deductible is expressed as a number of                      (b) The address where the property is
                            days, each day means twenty-four                                located.
                            consecutive hours.




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                        If we suspend your insurance, you will get a                                  which this endorsement is attached)
                        pro rata refund of premium. However, the                                      loss during the additional time re-
                        suspension will be effective even if we have                                  quired for repair or replacement of
                        not yet made or offered a refund.                                             Covered Property, consistent with
                   (2) Jurisdictional Inspections                                                     "Green", in the coverage above.
                        If any Covered Property under this endorse-                               We will not pay more than 150%, up to a
                        ment requires inspection to comply with                                   maximum limit of $100,000, of what the
                        state or municipal boiler and pressure vessel                             cost would have been to repair or re-
                        regulations, we agree to perform such in-                                 place with equipment of like kind and
                        spection on your behalf. We do not warrant                                quality inclusive of fees, costs and any
------ -- ----- ---- ---that conditions are safe ochealthful. --                             - ----business interruption-loss incurred-as--
     - - - ---(3) Environmental;SafetyandEfficiency ..                                    - - , .,stated above;,
                        Improvements                                                        (b) Green Environmental and Efficiency
                        If Covered Property requires replacement                                   Improvements does not cover any of
                        caused by an "Equipment Breakdown", we                                    the following.
                        will pay your additional cost to replace with                              1) Covered Property does not include
                        equipment that is better for the environment,                                  stock, raw materials, finished goods,
                        safer, or more efficient than the equipment                                    "production machinery", merchan-
                        being replaced.                                                                dise, electronic data processing
                        However, we will not pay more than 150% of                                     equipment not used in the functional
                        what the cost would have been to repair or                                     support of the real property, process
                        replace with like kind and quality. This con-                                  water, molds and dies, property in
                        dition does not apply to any property to                                       the open, property of others for
                        which Actual Cash Value applies.                                               which you are legally liable, or per-
                    (4) Green Environmental and Efficiency                                             sonal property of others.
                        Improvements                                                               2) Any loss adjusted on any valuation
                        (a) If Covered Property requires repair or                                     basis other than a repair or replace-
                             replacement caused by an "Equipment                                       ment cost basis as per E. LOSS
                             Breakdown", we will pay:                                                  CONDITIONS, 4. Loss Payment.
                             1) The lesser of the reasonable and                                   3) Any loss covered under any other
                                 necessary additional cost incurred                                    section of this policy.
                                 by you to repair or replace physi-                                4) Any cost incurred because of any
                                 cally damaged Covered Property                                        law or ordinance with which you
                                 with equipment of like kind and qual-                                 were legally obligated to comply
                                 ity which qualifies as "Green". Like                                  with prior to the time of the
                                                                                                       11
                                 kind and quality includes similar size                                   Equipment Breakdown 11 •
                                 and capacity.                                         (5) Other Insurance Issued By Us
                             2) The additional reasonable and nec-                           If this policy provides coverage for Data Pro-
                                 essary fees incurred by you for an                         cessing Equipment Coverages, Electronic
                                 accredited professional certified by                        Data Processing Equipment, Refrigerated
                                 a "Green Authority" to participate in                       Products, Spoilage or Mechanical
                                 the repair or replacement of physi-                         Breakdown where two or more of this
                                 cally damaged Covered Property as                           policy's coverages apply to the same loss or
                                 11
                                     Green 11 •                                              damage, the coverage of this endorsement
                             3) The additional reasonable and nec-                           shall supersede any coverages provided
                                 essary cost incurred by you forcer-                         outside of this Equipment Breakdown
                                 tification or recertification of the                        Endorsement for the loss or damage that
                                 repaired or replaced Covered                                arises out of an 11 Equipment Breakdown"
                                  Property as "Green".                                       loss.
                             4) The additional reasonable and nec-                           This Condition supersedes any similar Con-
                                  essary cost incurred by you for                            dition when provided by us in this policy.
                                  11
                                     Green 11 in the removal, disposal or
                                  recycling of damaged Covered                 2.   B. EXCLUSIONS of the CAUSES OF LOSS
                                  Property.                                         FORMS is amended.
                             S) The business interruption (if cover-                a. CAUSES OF LOSS - BASIC FORM and
                                  age is provided by the policy to                      CAUSES OF LOSS - BROAD FORM are


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        amended. The following exclusions are deleted                          d.   (6) Mechanical breakdown. including rup-
        for purposes of this endorsement only.                                          ture or bursting caused by centrifugal
        Artificially generated electrical, magnetic or elec-                            force. However, if mechanical break-
        tromagnetic energy that damages, disturbs, dis-                                 down results in elevator collision, we will
        rupts or otherwise interferes with any:                                         pay for the loss or damage caused by
        (1) Electrical or electronic wire, device, appli-                               that elevator collision; or
              ance, system or network; or                                      e.   Explosion of steam boilers, steam pipes,
           (2) Device, appliance, system or network utiliz-                         steam engines or steam turbines owned or
                 ing cellular or satellite technology.                              leased by you, or operated under your
           For the purpose of this exclusion, electrical,                           control. However, if explosion of steam
  ________ magneticorelectromagne_tic:e__11e_rgy_JncJu_cie_5b_t1L    ___ __ ___ ___boile_rs. steam RiQes, ste_,imJengine_s or
           is.not.limited to:                                                       steam turbines results in fire or combustion
          -- - (a) Electrical currenf1ncludingardrig;                               explos,an:-wewill pay-forihelossor
                 (b) Electrical charge produced or conducted                        damage caused by that fire or combustion
                      by a magnetic or electromagnetic field;                       explosion. We will also pay for loss or
                 (c) Pulse of electromagnetic energy; or                            damage caused by or resulting from the
                 (d) Electromagnetic waves or microwaves.                           explosion of gases or fuel within the furnace
           However, if fire results, we will pay for the loss                       of any fired vessel or within the flues or
           or damage caused by that fire.                                           passages through which the gases of
           Mechanical breakdown, including rupture or                               combustion pass.
           bursting caused by centrifugal force. However,              3. CAUSES OF LOSS - SPECIAL FORM,
           if mechanical breakdown results in a Covered                   C. LIMITATIONS is amended. The following
           Cause of Loss, we will pay for the loss or dam-                limitations are deleted for purposes of this
           age caused by that Covered Cause of Loss.                      endorsement only.
           Explosion of steam boilers, steam pipes, steam                 a. Steam boilers, steam pipes, steam engines, or
           engines or steam turbines owned or leased by                        steam turbines caused by or resulting from any
           you, or operated under your control.                                condition or event inside such equipment.
           However, if explosion of steam boilers. steam                       However, we will pay for loss of or damage to
           pipes, steam engines or steam turbines results                      such equipment caused by or resulting from an
           in fire or combustion explosion, we will pay for                    explosion of gases or fuel within the furnace of
           the loss or damage caused by that fire or com-                      any fired vessel or within the flues or passages
           bustion explosion.                                                  through which the gases of combustion pass.
     b. CAUSES OF LOSS - SPECIAL FORM, B.                                 b. Hot water boilers or other water heating
           EXCLUSIONS, 2. is amended. The following                            equipment caused by or resulting from any
           exclusions are deleted for purposes of this                         condition or event inside such boilers or
           endorsement only.                                                   equipment, other than any explosion.
           a. Artificially generated electrical, magnetic or           4. DEFINITIONS is amended.
                 electromagnetic energy that damages, dis-                a. CAUSES OF LOSS - SPECIAL FORM, "Speci-
                 turbs, disrupts or otherwise interferes with                  fied Causes of Loss" is amended to include
                 any:                                                          "Equipment Breakdown" for purposes of this
                 (1) Electrical or electronic wire, device, ap-                endorsement only.
                      pliance, system or network; or                      b. CAUSES OF LOSS - SPECIAL FORM,
                 (2) Device, appliance, system or network                      CAUSES OF LOSS - BASIC FORM and
                      utilizing cellular or satellite technology.              CAUSES OF LOSS - BROAD FORM are
                 For the purpose of this exclusion, electrical,                amended. The following definitions are added
                 magnetic or electromagnetic energy in-                        for purposes of this endorsement only.
                 cludes but is not limited to:                                 "Cloud computing" means on-demand network
                     (a) Electrical current. including arcing;                 access to a shared pool of computing resources
                     (b) Electrical charge produced or con-                    via networks, servers, storage, applications and
                            ducted by a magnetic or electro-                   services provided by an organization with whom
                            magnetic field;                                    you have a contract with using the following
                     (c) Pulse of electromagnetic energy; or                   service models: Software as a Service (SaaS),
                     (d) Electromagnetic waves or                              Platform as a Service (PaaS) and Infrastructure
                            microwaves.                                        as a Service (laaS) on the following deployment
                 However, if fire results, we will pay for the                 models: public cloud, community cloud, hybrid
                 loss or damage caused by that fire.                           cloud and private cloud.


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           "Electronic equipment" means devices which op-                        (a) Wear and tear;
           erate using many small electrical parts such as,                      (b) Rust or other corrosion, decay, deterio-
           but not limited to, microchips, transistors or                              ration, hidden or latent defect, "fungi",
           circuits.                                                                   wet rot, dry rot, virus, bacteria or any
           "Electronic equipment deficiency" means the                                 other quality in property that causes it to
           quality or condition inside of "electronic equip-                           damage or destroy itself;
           ment" which renders this equipment unexpect-                          (c) Smog:
           edly inoperable and which is operable again                           (d) Settling, cracking, shrinking or
           once a piece of "electronic equipment" has been                             expansion:
           replaced.                                                             (e) Nesting or infestation, or discharge or
   __ ____ However,_"electronicequipmentdefictency"wilL __________ _            ______ release_ofwasteproductsorsecretions, _
  _ _ ___noUndu_de_rnpl.acem.entot"electronic eJ:JUcip,__              __ __ __ _ ___by.insects, birds,rodents,orotheL,
           ment" for any condition that could have been                                animals;
           resolved without replacement of the "electronic                       (f) Any accident, loss, damage, cost, claim,
           equipment" including but not limited to "com-                               or expense, whether preventative, reme-
           puter equipment" maintenance or the reinstalla-                             dial, or otherwise, directly or indirectly
           tion or incompatibility of software.                                        arising out of or relating to the recogni-
           "Equipment Breakdown° means:                                                tion, interpretation, calculation, compar-
           (1) Physical loss or damage both originating                                ison, differentiation, sequencing, or pro-
                within:                                                                cessing of data by any computer system
                (a) Boilers, fired or unfired pressure ves-                            including any hardware, programs or
                     sels, vacuum vessels, and pressure pip-                           software:
                     ing, all normally subject to vacuum or                       (g) Scratching or marring; and
                     internal pressure other than static pres-                    (h) Loss, damage, cost or expense directly
                     sure of contents, excluding:                                      caused by, contributed to by, resulting
                     1) Waste disposal piping;                                         from or arising out of the following
                     2) Any piping forming part of a fire pro-                         causes of loss:
                          tective system;                                              1) Fire, lightning, combustion explo-
                     3) Insulating or refractory material                                   sion, windstorm or hail, weight of
                          including any surrounding shell; and                              snow, ice or sleet, falling objects,
                     4) Any water piping other than:                                        smoke, aircraft or vehicles, riot or
                          a) Boiler feed water piping be-                                   civil commotion, vandalism, sinkhole
                               tween the feed pump and the                                  collapse, volcanic action, leakage
                               boiler;                                                      from fire extinguishing equipment,
                          b) Boiler condensate return piping;                               water damage, earth movement: or
                               or                                                      2) Flood, unless an "Equipment Break-
                          c) Water piping forming part of a                             down" ensues.
                               refrigerating or air conditioning          "Green" means products, materials, methods
                               system.                                    and processes certified by a "Green Authority"
                (b) All mechanical, electrical, "electronic               that conserve natural resources, reduce energy
                     equipment" or fiber optic equipment; and             or water consumption, avoid toxic or other
           (2) Caused by, resulting from, or consisting of:               polluting emissions or otherwise minimize
                (a) Mechanical breakdown;                                 environmental impact.
                                                                          11
                (b) Electrical or electronic breakdown and                   Green Authority11 means an authority on
                     "electronic equipment deficiency11 ; or              "Green" buildings, products, materials, methods
                (c) Rupture, bursting, bulging, implosion, or             or processes certified and accepted by Leader-
                     steam explosion.                                     ship in Energy and Environmental Design
           (3) However, "Equipment Breakdown" does not                    (LEED®), Green Building Initiative, Green
                mean:                                                     Globes®, Energy Star Rating System or any
                Physical loss or damage caused by or re-                  other recognized "Green" rating system.
                sulting from any of the following; however, if            "Perishable goods" means stock preserved and
                loss or damage not otherwise excluded                     maintained under controlled conditions and sus-
                results, then we will pay for such resulting              ceptible to loss or damage if the controlled
                damage:                                                   conditions change.




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        "Production machinery" means any machine                                     (9) Machinery and Equipment;
        which processes, forms, shapes or transports                                 (10) Personal Property in the Open;
        raw materials, materials in process, waste                                   (11) Legal Liability Real Property;
        materials or finished products.                                              (12) Business Income and Extra Expense
        "Total insured value" means:                                                      (when Business Income and Extra
        The sum of the limits for the following coverages                                 Expense - Actual Loss Sustained is shown
        if shown at the location where "Equipment                                         in the Declarations, Business Income and
        Breakdown" is shown in the Declarations:                                          Extra Expense applies at 25% of the sum
        (1) Building;                                                                     of the building and business personal
        (2) Business Personal Property;                                                   property limits at that location);
   _ ___(3) _Stock;                       __ __ __ ___ ___ _ ___ __ _ _ __ ___ _(13) _BusinessJncome(Without Extra Expense);
    ___ (4) f'er_s_onal PIQJ:l<arly ofOth<ms;                        ____ ____ ____ (14) ExtraJ::xpens<>; and
        (5) Tenants Improvements and Betterments;                                    (15) Any other property described.
        (6) Improvements and Alterations;
        (7) Furniture;                                                   All other policy terms and conditions apply.
        (8) Fixtures;



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                                                                                                                       64328 (7-19)


                THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


               ARKANSAS CHANGES - ACTUAL CASH VALUE
...... Thisendorsernent rnodifiesinsuranceprovided under th1,f0Uovvin9: .

         ·coMMERCIALPROPERTYCOVERAGEPART

      Wherever it appears in this Coverage Part and any                 The meaning of actual cash value in this endorsement
      endorsement attached to this Coverage Part, actual                supersedes any provision in this Coverage Part and any
      cash value means the cost to repair or replace lost or            endorsement attached to this Coverage Part to the
      damaged property with property of similar quality and             contrary.
      features reduced by the amount of expense depreciation
      applicable to the lost or damaged property immediately            All other policy terms and conditions apply.
      prior to the loss.



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                                                                                                                 55293 (7-05)



                                                        Arkansas
               NOTICE TO POLICYHOLDER· AGGREGATE LIMIT OF LIABILITY

Dear Policyholder:

Your Commercial policy contains an Aggregate Limit of Liability. Please refer to your policy for an explanation of cover-
age.

This notice is for informational purposes only. Your policy contains the specific terms and conditions of coverage.

If you have any questions regarding your policy or this notice, please contact your Auto-Owners agency.



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                                                                                                                  55405 (7-08)


             THIS ENDORSEMENT CHANGES THE POLICY. PLEASE READ IT CAREFULLY.


       CONDITIONAL EXCLUSION OF TERRORISM
    INVOLVING NUCLEAR, BIOLOGICAL OR CHEMICAL
. TE.RRORISM . (RELATINGTODISPOSITION. OFFEDERAti··
          TERRORISM RISK INSURANCE ACT)
 This endorsement modifies insurance provided under the following:

     COMMERCIAL GENERAL LIABILITY COVERAGE PART
     LIQUOR LIABILITY COVERAGE PART
     OWNERS AND CONTRACTORS PROTECTIVE LIABILITY COVERAGE PART
     RAILROAD PROTECTIVE LIABILITY COVERAGE PART


 A. Applicability Of This Endorsement                                        endorsement already endorsed to this policy
                                                                             that addresses "certified acts of terrorism".
    1. The provisions of this endorsement will apply
       if and when one of the following situations                      3.   If this endorsement does NOT become appli-
       occurs:                                                               cable, then any terrorism endorsement al-
                                                                             ready endorsed to this policy, that addresses
        a.    The federal Terrorism Risk Insurance Pro-                      "certified acts of terrorism", will remain in
              gram ("Program"), established by the Ter-                      effect. However, if the Program is renewed,
              rorism Risk Insurance Act of 2002 (in-                         extended or otherwise continued in effect
              cluding ensuing Congressional actions                          with revisions that change the level or terms
              pursuant to the Act), terminates; or                           or conditions of coverage, and we are re-
                                                                             quired to offer you the revised coverage or to
        b. The Program is renewed, extended or oth-                          provide revised coverage to those who pre-
           erwise continued in effect:                                       viously accepted coverage under the Pro-
                                                                             gram, then we will take the appropriate steps
              (1) With revisions that increase insurers'                     in response to the federal requirements.
                  statutory percentage deductible or de-
                  crease the federal government's stat-             B. The following definition is added and applies under
                  utory percentage share in potential                  this endorsement wherever the term terrorism is
                  terrorism losses above such deduct-                  enclosed in quotation marks.
                  ible, or that results in a change in the
                  level or terms or conditions of cover-                'Terrorism" means activities against persons, or-
                                                                        1


                  age; and                                              ganizations or property of any nature:

               (2) We are not required by the Program                   1.   That involve the following or preparation for the
                   to make terrorism coverage available                      following:
                   to you and elect not to do so.
                                                                             a.   Use or threat of force or violence; or
     2. When this endorsement becomes applicable
        in accordance with the terms of A.1.a. or                            b.   Commission or threat of a dangerous act; or
        A.1.b., above, it supersedes any terrorism


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        c. Commission or threat of an act that inter-                      injury or damage. This exclusion applies only when
            feres with or disrupts an electronic, com-                     one or more of the following are attributed to an inci-
            munication, information, or mechanical                         dent of "terrorism":
            system; and
                                                                           1.   The 11terrorism 11 is carried out by means of the
   2. When one or both of the following applies:                                dispersal or application of radioactive material,
                                                                                or through the use of a nuclear weapon or
        a. The effect is to intimidate or coerce a                              device that involves or produces a nuclear
              government or the civilian population or any                      reaction, nuclear radiation or radioactive
              segments thereof, or to disrupt any segment                       contamination;
              ofthe economy;or
                                                                           2.   Radioactive mafoiial is released; andifappears
 · ·· ······ b. ltappearsthalthe intent is to intimidate or                     that one purpose ofthe "terrorism" wasto rel-·····················
              coerce a government or the civilian popu-                         ease such material;
              lation, or to further political, ideological,
              religious, social or economic objectives or to               3.   The uterrorism 11 is carried out by means of the
              express (or express opposition to) a philo-                       dispersal or application of pathogenic or poi-
              sophy or ideology.                                                sonous biological or chemical materials; or

C. The following exclusion is added:                                       4. Pathogenic or poisonous biological or chemical
                                                                                materials are released, and it appears that one
   Exclusion Of "Terrorism"                                                     purpose of the 11 terrorism 11 was to release such
   We will not pay for "bodily injury", "property dam-                          materials.
   age", "personal injury" or "advertising injury11 caused
   directly or indirectly by "terrorism", including action in              Multiple incidents of "terrorism" which occur within a
   hindering or defending against an actual or expected                    72-hour period and appear to be carried out in
   incident of 11terrorism 11 • All 11bodily injury11 , 11 property        concert or to have a related purpose or common
   damage", "personal injury" or "advertising injury11 is                  leadership will be deemed to be one incident,
   excluded regardless of any other cause or event that                    regardless of whether this endorsement was in
   contributes concurrently or in any sequence to such                     effect during the entirety of that time period or not.




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                                                                                                                       59350 (1-15)


                      CAP ON LOSSES FROM CERTIFIED ACTS OF TERRORISM
                                           AND
                     IMPORTANT INFORMATION REGARDING TERRORISM RISK
                                   INSURANCE COVERAGE

lti5 agreed:

1. With respect to any one or more certified acts of terrorism, we will not pay any amounts for which we are not respon-
   sible because of the application of any provision which results in a cap on our liability for payments for terrorism
   losses in accordance with the terms of the federal Terrorism Risk Insurance Act of 2002 (including ensuing Congres-
   sional actions pursuant to the Act).

2.   Certified act of terrorism means any act certified by the Secretary of the Treasury, in consultation with:

     a. the Secretary of Homeland Security; and
     b. the Attorney General of the United States

     to be an act of terrorism as defined and in accordance with the federal Terrorism Risk Insurance Act of 2002 (includ-
     ing ensuing Congressional actions pursuant to the Act).

3.   Under the federal Terrorism Risk Act of 2002 (including ensuing Congressional actions pursuant to the Act) a terrorist
     act may be certified:

     a. if the aggregate covered commercial property and casualty insurance losses resulting from the terrorist act ex-
         ceed $5 million; and

     b. (1) if the act of terrorism is:

               a)    a violent act; or

               b) an act that is dangerous to human life, property or infrastructure; and

         (2) if the act is committed:

               a) by an individual or individuals as part of an effort to coerce the civilian population of the United States; or

               b) to influence the policy or affect the conduct of the United States government by coercion.

All other policy terms and conditions apply.




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                 IMPORTANT INFORMATION REGARDING TERRORISM RISK
                               INSURANCE COVERAGE

The Terrorism Risk Insurance Act of 2002 was signed into law on November 26, 2002. The Act (including ensuing Con-
gressional actions pursuant to the Act) defines an act of terrorism, to mean any act that is certified by the Secretary of the
Treasury, in consultation with the Secretary of Homeland Security and the Attorney General of the United States to be (i)
an act of terrorism; (ii) to be a violent act or an act that is dangerous to human life, property or infrastructure; (iii) to have
resulted in damage within the United States or outside the United States in the case of certain air carriers or vessels or
the premises of a United States mission; and (iv) to have been committed by an individual or individuals as part of an ef'
fort to coerce the civilian population ofthe United-States or to influence the policy or affect the conduct of the United
States government by coercion,

Subject to the policy terms and conditions, this policy provides insurance coverage for acts of terrorism as defined in the
Act.

Any coverage for certain commercial lines of property and casualty insurance provided by your policy for losses caused
by certified acts of terrorism are partially paid by the federal government under a formula established by federal law. Un-
der this formula, the government will reimburse us for 85% of such covered losses that exceed the statutory deductible
paid by us. However, beginning January 1, 2016 the share will decrease 1% per calendar year until it equals 80%. You
should also know that in the event aggregate insured losses exceed $100 billion during any year the Act is in ef-
fect, then the federal government and participating United States insurers that have met their insurer deductible
shall not be liable for the payment of any portion of that amount of the loss that exceeds $100 billion. In the event
that aggregate insured losses exceed $100 billion annually, no additional claims will be paid by the federal gov-
ernment or insurers. This formula is currently effective through December 31, 2020 unless extended.

The premium charge, if any, for this coverage is shown separately on the attached Declarations page. In the event of a
certified act of terrorism, future policies also may include a government assessed terrorism loss risk-spreading premium in
accordance with the provisions of the Act.

Please contact us if you would like to reject coverage for certified acts of terrorism.




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